    Case 21-90002-LT             Filed 10/04/22   Entered 10/05/22 09:10:02      Doc 139      Pg. 1 of 1



                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF CALIFORNIA

                                                  Minute Order
Hearing Information:
              ADV: 21-90002                                                                                     0.00
              CUKER INTERACTIVE, LLC VS WOLFE LEGAL GROUP, PC
                     Debtor:   CUKER INTERACTIVE, LLC
               Case Number:    18-07363-LT11          Chapter: 11
      Date / Time / Room:      TUESDAY, OCTOBER 04, 2022 10:00 AM DEPARTMENT 3
       Bankruptcy Judge:       LAURA S. TAYLOR
        Courtroom Clerk:       RUSSELL PALUSO
          Reporter / ECR:      JENNIFER GIBSON

Matter:
              MOTION TO RE-TAX COSTS FILED ON BEHALF OF CUKER INTERACTIVE, LLC



Appearances:

        MICHAEL D. BRESLAUER, ATTORNEY FOR CUKER INTERACTIVE, LLC
        K. TODD CURRY, ATTORNEY FOR WOLFE LEGAL GROUP, PC
Disposition:                                                                                       1.00

        Granted, as to the disallowance of the $910.55 claim, pursuant to the Court' s Tentative Ruling
        and as set forth on the record.


        Order to be submitted by Mr. Curry.




Page 1 of 1                                                                                    10/5/2022   9:09:26AM
